        Case 1:17-cr-10092-NMG Document 292 Filed 05/22/18 Page 1 of 13




                            UNITED STATES DISTRICT COURT
                             DISTRICT OF MASSACHUSETTS

__________________________________________
                                          )
UNITED STATES OF AMERICA,                 )
                                          )
            v.                            )                  No. 17-CR-10092-NMG
                                          )
GARY P. DECICCO,                          )
                                          )
                  Defendant.              )
__________________________________________)

             OPPOSITION TO UNITED STATES’ MOTION IN LIMINE
                 TO PRECLUDE DEFENDANT FROM OFFERING
        OR ELICITING CERTAIN INFORMATION ABOUT CW-1 (Dkt. No. 261)

       Defendant Gary DeCicco respectfully opposes the government’s Motion in Limine to

preclude the defense from offering “evidence consisting of irrelevant and prejudicial information

regarding CW-1” (Dkt. No. 261), because the evidence is neither irrelevant nor unfairly

prejudicial. The government specifically seeks to exclude (1) negative online reviews about

CW-1’s business; (2) evidence about CW-1’s dispute with Nicholas D’Angelo, a contractor who

worked on Auto Excellence Group; and (3) evidence about CW-1’s threat to report Ralph

Teixeira to law enforcement because of a business dispute over wages. See Dkt. No. 261 at 1-2.

This is yet another attempt to hamstring the defense from responding to the government’s

meritless theory that Mr. DeCicco extorted CW-1 because he wanted to partner with CW-1 in his

used car dealership. CW-1 is anticipated to testify at trial that Mr. DeCicco wanted to partner

with him—the only witness who will so testify. The defense is entitled to show the myriad

reasons that Mr. DeCicco would never want to be a partner or co-owner of a business with CW-

1. The government’s attempt to prevent Mr. DeCicco from defending himself is wrong as the

defendant as a constitutional right to present a defense and a right to rebut the government’s
          Case 1:17-cr-10092-NMG Document 292 Filed 05/22/18 Page 2 of 13



case. See [Case Cite].

          The evidence at issue will show the deep animus and mistrust between the two men due

to CW-1’s well-known behavior of smearing others and threatening to report them to law

enforcement as an improper means of leverage. There is compelling evidence that the

construction of Auto Excellence Group was a veritable warzone because CW-1 became financial

strapped and engaged in sharp conflicts with his contractors, suppliers, and vendors to unfairly

extract price reductions from them. This squarely contradicts CW-1’s repeated testimony and

statements to law enforcement that Mr. DeCicco—and indeed everyone else in the community—

wanted to be CW-1’s partner in his dealership because it was the “talk of the town,” and because

CW-1 had a sterling reputation in the used car business. The government’s motion should be

denied.

                                       RELEVANT FACTS

I.        The Government’s Theory of the Case

          Mr. DeCicco and CW-1 have been neighbors in a small, 6-house cul-de-sac since 2001.

The Indictment alleges that from 2013 through January 11, 2015, Mr. DeCicco unlawfully

“attempted to obtain an interest in [CW-1’s] automobile dealership from [CW-1] with his

consent, induced by wrongful use of actual and threatened force, violence, and fear” in violation

of the Hobbs Act, 18 U.S.C. § 1951. Dkt No. 23.

          Since the filing of the criminal complaint on March 16, 2017, see Dkt. No. 3, the

government has consistently pressed its theory that Mr. DeCicco is criminally liable for extortion

because—according to CW-1—Mr. DeCicco sought to be a “partner” of CW-1 in CW-1’s

business, Auto Excellence Group, and resorted to actual and threatened force, violence, or fear to

induce CW-1’s consent after CW-1’s initial rejection. The government has enunciated this

theory through affidavits of FBI and IRS Special Agents investigating the case, as well as reports


                                                  2
        Case 1:17-cr-10092-NMG Document 292 Filed 05/22/18 Page 3 of 13



or memoranda of interview of CW-1, including the following:

       Dated March 16, 2017, SA Elio’s affidavit attests that “DeCicco approached CW-
        1 about being partners in the automobile dealership.” Dkt. No. 3-1 at ¶ 7. “CW-
        1 learned that DeCicco was telling people that he was going to be partners with
        CW-1 in the dealership. According to CW-1, DeCicco told the architect who did
        the plans for the building that he was going to be partners with CW-1 . . . CW-1
        made it clear to the architect that he had no intention of having DeCicco as a
        partner.” Dkt. No. 3-1 at ¶ 8. “According to CW-1, DeCicco became very upset
        that he was not going to be partners with CW-1.” Dkt. No. 3-1 at ¶ 9. “When
        asked by police on August 6, 2014 why DeCicco would be interested in harassing
        him, CW-1 told the police department that DeCicco wanted to be a partner in the
        business with CW-1 but that CW-1 did not need a partner.” Dkt. No. 3-1 at ¶ 12.

       IRS SA Lemanski’s affidavit, submitted in support of the government’s motion to
        detain, contains remarkably similar language. See, e.g., Dkt. No. 70-5 at ¶ 5
        (“being partners”); ¶ 6 (“going to be partners”); ¶ 7 (Mr. DeCicco was upset he
        “was not going to be partners with CW-1”).

       During the first detention hearing, IRS SA Lemanski testified that shortly after
        construction, “[CW-1] was approached by Mr. DeCicco requesting if he could be
        partners with him that dealership.” Dkt. No. 18 at 7:3-10. AUSA Barclay
        encouraged SA Lemanski to go on, asking:

              Q:      And then did the victim receive other information about Mr.
                      DeCicco asserting an interest in the ownership?

              A:      Yes. Shortly after his conversation with Mr. Deicco about becoming
                      partners, he had started to hear rumors and other people, associates
                      that Mr. DeCicco and both he had, that Mr. DeCicco was saying that
                      he was – had an ownership interest in that dealership.

              Dkt. No. 18 at 7:15-21.

       SA Lemanski went on to argue that the note that accompanied the flowers was also
        indicative that CW-1’s assault related to a dispute over ownership of the
        dealership, and that CW-1 has been consistent and would be the only person to say
        that because “he’s the one who was receiving the threats.” Dkt. No. 18 at 59:19-
        60:9. See also Dkt. No. 18 at 96:24-97:1 (testifying that CW-1 believed he
        received flowers and was assaulted because “Mr. DeCicco was getting back at him
        for not being – allowing him to be partners in his dealership with him”).

       The government has similarly maintained this ownership interest/partner theory of
        the case while arguing to detain Mr. DeCicco pretrial. In arguing that there is
        sufficient evidence of attempted extortion, the government stated, “[t]he victim
        told investigators several times that Mr. DeCicco wanted a piece of the business,
        and that other people had told him that Mr. DeCicco wanted a piece of the


                                               3
          Case 1:17-cr-10092-NMG Document 292 Filed 05/22/18 Page 4 of 13



          business . . . Mr. DeCicco said he owns it . . . the card mentions the fact that Mr.
          DeCicco is the true owner of the dealership . . . .” Dkt. No. 18 at 113:6-9, 14-
          15; 17-18.

         Later, when Mr. DeCicco sought to reopen the detention hearing and argued that
          there was conflicting evidence on the motive for CW-1’s assault, the government
          insisted that the objective evidence supported the ownership theory:

                 “But the fact that Defendant told CW-4 that CW-1 had harassed a woman
                 in his life is belied by the evidence that Defendant arranged the beating
                 because he wanted an interest in CW-1’s business. See, e.g., Docket No.
                 18, at 7 (Defendant commented to CW-1 about being partners) . . . .”

                 Dkt. No. 47 at 11.

(emphasis added).

II.       CW-1’s Statements Injecting His Reputation and Success as the Basis for Mr.
          DeCicco’s Alleged Desire to Obtain a Partnership Stake in Auto Excellence Group

          In his statements to the FBI, CW-1 claims that Mr. DeCicco’s alleged desire to be his

partner and co-owner in Auto Excellence Group was the reason why CW-1 received the delivery

of flowers, note, and pizza in August 2014 and was assaulted in January 2015. CW-1 has stated,

for example, that he believes he was assaulted because “Gary knows that I’m doing well and he

wants a piece of my business.” Exhibit A, at 2; that “DeCicco knew of [CW-1]’s good

reputation in the luxury automobile business” and “[p]art of the reason why DeCicco wanted to

be partners with CHS in the automobile business was based on the fact that DeCicco knew of

[CW-1]’s good reputation in the business and that DeCicco knew that [CW-1] was successful in

the business.” Exhibit B. CW-1 further stated that “it was no secret that CHS has always done

well in the luxury car market[.]” Id. CW-1 also told federal agents that Mr. DeCicco was “very

upset” about not allowing him to be partners with him because it had “everything that DeCicco

liked. It was located in a gorgeous building, that was full of exotic cars and the dealership was

the talk of the town when it opened.” Dkt. No. 35-13 at ¶ 18.




                                                   4
        Case 1:17-cr-10092-NMG Document 292 Filed 05/22/18 Page 5 of 13



III.   CW-1’s Disputes with Mr. D’Angelo and Other Contractors Regarding
       Construction of Auto Excellence Group

       There is ample evidence that during the construction of Auto Excellence Group from the

fall of 2013 until June 2014 and well after, CW-1 short-paid and battled with various contractors

and vendors who provided services to him, including his architect, his site engineer, his general

contractor, his subcontractors, and his suppliers, many of whom were Mr. DeCicco’s friends and

business acquaintances. Indeed, many of these individuals were referred to CW-1 by Mr.

DeCicco, and CW-1 has admitted to seeking Mr. DeCicco’s expertise and contacts given Mr.

DeCicco’s decades of experience developing real estate in the Greater Boston area. One of these

contractors was Nicholas D’Angelo, who built and installed the elevator onsite at Auto

Excellence Group. See Proposed Exhibits 88, 90, attached as Exhibit C. By June 2014, CW-1

began short-paying Mr. D’Angelo on his invoices, starting with a payment of only $6,000 on an

invoice of over $15,000. Instead of expressing contrition, CW-1 and his employee embarked on

an aggressive, malicious, and prolonged campaign against Mr. D’Angelo and his wife in an

attempt to unilaterally extract a discount of several thousand dollars from the amount owed,

forcing Mr. D’Angelo to engage an attorney and file suit to recover what he was due. This story

is not unique amongst the contractors for Auto Excellence Group. Multiple witnesses will testify

that CW-1 refused to pay them on time or in full, and that CW-1 was unreasonable, abusive, and

vindictive, even at one point threatening his architect’s employee with bodily harm. CW-1

admitted discussing his issues with his contractors with Mr. DeCicco. See, e.g., Exhibit D.

(“[CW-1] recalled discussing on the phone with DeCicco an unpaid balance with Rick Salvo”)

and (“[CW-1]’s phone contact with DeCicco in early 2014 mostly likely was . . . talking about

issues he was having with contractors . . . .”). Given that many of these contractors were his

friends and contacts with whom he had ongoing business, Mr. DeCicco was well aware of their



                                                5
        Case 1:17-cr-10092-NMG Document 292 Filed 05/22/18 Page 6 of 13



predicament; caught in the middle of his friends and business partners on the one hand, and his

neighbor on the other, Mr. DeCicco was forced to mediate many of these disputes. See id. Even

CW-1 admitted that he needed to stay in touch with Mr. DeCicco to deal with Peter Varone as

well as the contractors. See Exhibit J.

IV.    CW-1’s Dispute With Ralph Teixeira

       CW-1 also had issues with his own employees, including threatening them with

government enforcement to gain leverage in business disputes or simply out of spite or a desire

to induce fear. Mr. DeCicco was well aware of CW-1’s abusive behavior with co-workers, as

CW-1 worked for several years at a dealership owned by one of Mr. DeCicco’s best friends,

Richard Aswad.

       In January 2017, one of CW-1’s car salesmen, Ralph Teixeira, claimed that he was owed

approximately one week of back wages, and warned CW-1 that he was prepared to file a

complaint concerning his back pay to “the labor department.” See Exhibit E, at 6. After a

series of further communications via text messages, during which CW-1 consistently refused to

meet Mr. Teixeira’s demands, Mr. Teixeira gave up trying to collect, telling CW-1 to “keep it”

because “[y]ou clearly need that more than me” and then asking CW-1 not to ever contact him

again. See Id at 13. In response, CW-1 promised Mr. Teixeira that he was going to forward his

complaint to “the immigration and Social Securities department . . . I think the government

should be aware of your behavior.” See Id. at 1. Later, when asked about Mr. Teixeira by the

FBI, CW-1 vindictively volunteered to the agent interviewing him that Mr. Teixeira “wanted

[CW-1] to pay him cash which made [CW-1] very uncomfortable[,]” even though he then

admitted that he never did so. See Exhibit F, at 2.

V.     CW-1’s Status as an FBI Informant

       CW-1’s behavior is consistent with his tenure as an on-again, off-again FBI source. See


                                                 6
        Case 1:17-cr-10092-NMG Document 292 Filed 05/22/18 Page 7 of 13



Dkt. No. 3-1 at ¶ 5. CW-1 was known to flaunt his perceived relationship with law enforcement,

a fact well known by Mr. DeCicco. He boasted about being connected to individuals working

for the FBI, and frequently threatened to report individuals with whom he had business or

romantic disputes to state and federal law enforcement and government agencies. See, e.g., Dkt.

No. 84-7 ¶¶ 30, 34, 40, 42, 44; Aff. of Silvia Corina Milian, attached as Exhibit G. Several

witnesses on the defense’s witness list can testify as to CW-1’s statements to them about his

access to contacts in the FBI, in particular. Indeed, one of the witnesses in this case noted in a

later interview that CW-1 characterized the FBI as “his friends,” something that CW-1 admitted

to saying. See FD-302 Report of Richard Scourtas (May 1, 2018), attached as Exhibit H.

                                          ARGUMENT

       The government seeks to exclude the evidence that would “prejudice CW-1 in the eyes of

the jury,” and “cast CW-1 and his business in a negative light,” Dkt. No. 261 at 1-2, as if it were

unaware that it is precisely this “negative light” with which the defendant justifiably viewed

CW-1 and his business that undercuts the government’s theory of the case that Mr. DeCicco

sought to be CW-1’s business partner. The evidence thus is squarely relevant to Mr. DeCicco’s

defense and he should be permitted to introduce it to rebut the government’s theory of the case.

I.     Evidence of Negative Reviews of CW-1’s Businesses is Relevant, Non-Hearsay, and
       Admissible

       The exhibits of negative reviews of CW-1’s business are relevant because CW-1 has

alleged that “[p]art of the reason why DeCicco wanted to be partners with [CW-1] in the

automobile business was based on the fact that DeCicco knew of CHS’s good reputation in the

business[.]” The existence of these reviews—whether true or not—rebut CW-1’s claims that he

enjoys a “good reputation in the business” and, more importantly, rebut the government’s theory

that Mr. DeCicco was drawn to CHS because of this non-existent “good reputation.” The



                                                  7
        Case 1:17-cr-10092-NMG Document 292 Filed 05/22/18 Page 8 of 13



government’s objection based on hearsay thus is misplaced: the postings are not being offered

for the truth of the matter asserted, but rather for the effect that their existence has on CW-1’s

less-than-sterling reputation, implicating the success of any business run by CW-1. See, e.g.,

Mathew Enter., Inc. v. Chrysler Grp. LLC, 2016 U.S. Dist. LEXIS 129925, at *8 (N.D. Cal. Sept.

21, 2016) (allowing admission of Yelp reviews and ratings “to show the effect on future

customers”); Fed. R. Evid. 801(c)(2). Moreover, the government’s protest that one of the

postings reference CW-1’s employee of the business rather that CW-1 himself ignores that the

government is alleging that Mr. DeCicco wanted to be CW-1’s business partner; i.e., owning a

stake in a business that CW-1 would presumably continue to direct and run. Fed. R. Evid. 401.

The defense will show that Mr. DeCicco did not want to be associated in any way—let alone as a

business partner—with CW-1, who was engaged in a highly-competitive market in which he

operated under a cloud of negative reviews.

II.    Evidence of the Dispute with Nicholas D’Angelo Is Relevant and Admissible

       The evidence of CW-1’s dispute with Nicholas D’Angelo is relevant for several reasons.

First, the government claims there is no evidence that Mr. DeCicco knew about the dispute

between CW-1 and Mr. D’Angelo, implicitly acknowledging that Mr. DeCicco’s knowledge of

such a dispute would be relevant because it would dissuade Mr. DeCicco from wanting to partner

with him. See Dkt. No. 261 at 2. But CW-1 himself has admitted that he spoke regularly to Mr.

DeCicco during the construction of Auto Excellence Group concerning “issues” he had with

contractors, and further has stated that Mr. D’Angelo was referred to him by Mr. DeCicco, as he

had prior experience working for Mr. DeCicco. See Exhibit I. Mr. DeCicco was also in regular

contact with Peter Varone, the general contractor, and was aware of the disputes that CW-1 had

with contractors.




                                                  8
        Case 1:17-cr-10092-NMG Document 292 Filed 05/22/18 Page 9 of 13



       Second, the evidence shows that Mr. D’Angelo was short-paid on his invoices starting as

early as June 2014, when CW-1 paid less than half of the May 2014 invoice as it came due. This

undercuts the government’s assertion that “the Defendant could not have known about the

dispute before he sent the flowers on August 4, 2014.” Dkt. No. 261 at 2. In any event, the

defense is not arguing that this one particular dispute Mr. D’Angelo had with CW-1 was the

trigger for Mr. DeCicco’s delivery of flowers to CW-1. Rather, Mr. DeCicco intends to show is

that the intolerable way that CW-1 treated Mr. D’Angelo and the other contractors who worked

on Auto Excellence Group, and the ensuing damage it did to the reputation of the business,

makes it exceedingly unlikely that the government’s theory—that Mr. DeCicco would have

wanted to join forces with CW-1, let alone extort him for it—holds water. Fed. R. Evid. 401,

402.

       Finally, CW-1’s experience with Mr. D’Angelo was not an isolated event, but was rather

a pattern of well-known conduct that CW-1 cheated all the contractors. The incident reflects

CW-1’s abusive character towards those with him he conducts business, as well as his habit or

routine practice for shortchanging or cheating his contractors and vendors. Because CW-1’s

character is central to Mr. DeCicco’s defense that he would not have wanted to partner with him,

this evidence of CW-1’s treatment of Mr. D’Angelo and the ensuing dispute is independently

admissible because it is offered to show CW-1’s pertinent trait and his routine practice or habit.

See Fed. R. Evid. 404(2)(B); 405; 406.

III.   The Evidence of CW-1’s Dispute with Ralph Teixeira Is Relevant and Admissible

       Similarly, the evidence of CW-1’s dispute with Ralph Teixeira is relevant and admissible.

Though this incident happened outside the time period of the alleged extortion, CW-1’s dispute

with Mr. Teixeira is representative of his character and habit that spans the entire relevant time




                                                 9
       Case 1:17-cr-10092-NMG Document 292 Filed 05/22/18 Page 10 of 13



period and beyond. Indeed, this incident falls in line with a long series of similar incidents that

all originate with CW-1, including his threat to report another employee to immigration

authorities, and his threats to contractors who worked on Auto Excellence to report them (or their

relatives) to the FBI. This specific instance of conduct relating to Mr. Teixeira proves CW-1’s

combative, underhanded, and vindictive character traits, which are pertinent in this case because

the government is trying to show that Mr. DeCicco wished to be CW-1’s business partner. See

Fed. R. Evid. 405(b). Moreover, this evidence, coupled with other evidence in the record that

CW-1 flaunted his government informant status and routinely threatened others with law

enforcement as a means for resolving business and personal disputes in his favor, again goes to

show how the government’s theory is meritless. This is particularly so given the fact that Mr.

DeCicco had been questioned by the FBI during the relevant time period as charged in the

indictment, as part of a separate investigation the FBI was conducting into one of Mr. DeCicco’s

business partners (who was subsequently indicted in October 2014). CW-1’s well-known

connection to the FBI and his tendency to wield it to gain the upper hand when disputes arise

would have made CW-1 an exceedingly unattractive business partner to Mr. DeCicco.

IV.    The Evidence is Not Unduly Embarrassing to CW-1

       The government seeks to cast all this evidence as an improper maligning of CW-1’s

character and business. But while the evidence is admittedly unflattering, it is not unduly

embarrassing because it is the government who has affirmatively injected these issues into its

theory of the case, and Mr. DeCicco is entitled to counter it. See, e.g., United States v. Simonelli,

237 F.3d 19, 25 (1st Cir. 2001) (finding no unfair prejudice where government was permitted to

conduct “not the most attractive examination” of defendant because it was countering a defense

theme that defendant himself introduced); United States v. Tse, 375 F.3d 148, 163-64 (1st Cir.




                                                 10
       Case 1:17-cr-10092-NMG Document 292 Filed 05/22/18 Page 11 of 13



2004) (noting that it was error to use same standard of prejudice to weigh impeaching evidence

for government witnesses and the accused, the latter of whom enjoys greater protection from

prejudice); Fed. R. Evid. 403 (concerning risk of “unfair prejudice”); 611(a) (“undue

embarrassment”) (emphasis added). It is the government and CW-1—not Mr. DeCicco—who

intend to offer evidence and testimony in support of the false theory that Mr. DeCicco wanted to

be CW-1’s partner, specifically because of CW-1’s reputation in the used car industry and his

attractiveness as a partner. In short, CW-1’s character and business reputation are material to

Mr. DeCicco’s defense only because the government’s theory rests on it. Mr. DeCicco has the

right to defend himself.

                                        CONCLUSION

       For these reasons, the government’s motion in limine should be denied in its entirety.




                                                11
      Case 1:17-cr-10092-NMG Document 292 Filed 05/22/18 Page 12 of 13



                                      Respectfully submitted,

                                      GARY P. DECICCO

                                      By his attorneys,

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                                     12
       Case 1:17-cr-10092-NMG Document 292 Filed 05/22/18 Page 13 of 13



                              CERTIFICATE OF SERVICE

        I hereby certify that a true copy of the above document was filed on May 22, 2018
through the CM/ECF system and will be served electronically to registered CM/ECF participants
as identified on the Notice of Electronic Filing.

                                                  /s/ Thomas C. Frongillo
                                                  Thomas C. Frongillo




                                             13
